     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 1 of 16 Page ID #:1



 1   Edward Chen (SBN #312553)
 2   echen@edchenlaw.com
     LAW OFFICES OF EDWARD CHEN
 3   1 Park Plaza, Suite 600
     Irvine, CA 92614
 4   Telephone: (949) 287-4278
     Facsimile: (626) 385-6060
 5

 6   Attorneys for Plaintiff

 7
                                            UNITED STATES DISTRICT COURT
 8
                                       CENTRAL DISTRICT OF CALIFORNIA
 9
10
      EDWARD CHEN,                                       Case No. 8:21-cv-02032
11
                               Plaintiff,                COMPLAINT
12

13               v.                                         1. Breach of Contract
                                                            2. Breach of the Covenant of Good Faith
14    YK LAW LLP, f/k/a/ MEI & WEINER LLP a                    and Fair Dealing
      New York limited liability partnership;               3. Defamation
15    YONGYUAN LI, a/k/a/ HENRY LI; JESSE                   4. Accounting
      JULES WEINER; XIANGRONG MEI; and
16
      DOES 1-10, inclusive,                              DEMAND FOR JURY TRIAL
17
                               Defendants.
18

19

20

21

22

23

24

25

26

27

28
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 2 of 16 Page ID #:2



 1                                                I.     INTRODUCTION
 2
               1.       Plaintiff Edward Chen brings this lawsuit to recover damages and compensation for breach
 3
     of contract, breach of the implied covenant of good faith and fair dealing, defamation, and accounting
 4
     arising from and relating to Plaintiff’s employment with Defendant YK Law LLP (hereinafter “YK Law”
 5
     or the “Firm”) and seeks to recover damages representing the payment of fees and compensation that have
 6

 7   been wrongfully withheld from Plaintiff.

 8             2.       Despite the Firm’s consistent efforts in marketing itself as a firm that has ties with the
 9   “largest law firm in China”, that is, the Yingke Law Firm, the actions of the Firm and the individual named
10
     defendants herein are not indicative of a firm that one would come to expect being in such close relation
11
     with thereto. Indeed, the actions of the Firm are beyond xiǎo qì 1 and the individually named defendants
12
     can only be described as being xiǎo rén2.
13

14             3.       This case arises from Defendants’ purported termination of Plaintiff’s employment as a

15   partner of the Firm and for the Firm’s blatant efforts and attempts to cause harm and damage to Plaintiff

16   by breaching and otherwise failing to adhere to the terms of an employment agreement between the parties.
17             4.       The Firm’s unabashed refusal to comply with the terms of the employment agreement and
18
     continued refusal to pay Plaintiff the monies that are owed and currently have caused significant harm and
19
     injury to Plaintiff.
20
                                                       II.   PARTIES
21

22             5.       Plaintiff Edward Chen is, and at all times relevant herein was, an individual residing in the

23   State of California and within this judicial district.

24

25

26   1
         小气, (https://translate.google.com/?sl=en&tl=zh-CN&text=stingy&op=translate)

27   2
         小人, (https://translate.google.com/?sl=zh-CN&tl=en&text=%E5%B0%8F%E4%BA%BA&op=translate&hl=en)

28


                                                                2
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 3 of 16 Page ID #:3



 1           6.       Defendant YONGYUAN LI a/k/a/ HENRY LI (“Li”) is, and at all times relevant herein
 2
     was, an individual citizen of the People’s Republic of China residing in the State of California within this
 3
     judicial district.
 4
             7.       Defendant JESSE JULES WEINER is, and at all times relevant herein was, an individual
 5
     citizen residing in the State of New York. Notably, Defendant Weiner holds himself out to be a “co-
 6

 7   managing partner” of the Firm, yet there is no indication on the firm’s website as to any other individual

 8   who shares the management responsibilities with Defendant Weiner.
 9           8.       Defendant XIANGRONG MEI is, and at all times relevant herein was, an individual citizen
10
     of the People’s Republic of China residing therein.
11
             9.       Upon information and belief, Defendant YK Law LLP is, and at all times relevant herein
12
     was, a New York limited liability partnership validly existing and formed under the laws the of the State
13

14   of New York. Upon further information and belief, the Firm was originally formed under the name MEI

15   & WEINER, LLP.

16           10.      Plaintiff is informed, believes, and thereon alleges that Defendant Li was, at all relevant
17   times, and remains, a “co-managing partner” of the Firm or otherwise holds a partnership interest in equity
18
     of the Firm. Further, Plaintiff is informed, believes, and thereon alleges that Defendant Li’s status as a
19
     “co-managing partner” of the Firm is purposefully hidden from the public so as to not alert the same to
20
     the impropriety of a non-US licensed attorney, such as Defendant Li, having a partnership interest in a
21

22   U.S. based law firm.

23           11.      Plaintiff is further informed, believes, and thereon alleges that Defendant Mei invalidly

24   holds a partnership interest in equity of the Firm despite the fact that Defendant Mei is a non-US licensed
25
     attorney. Defendant Li and Defendant Mei are, upon information and belief, partners having equity
26
     ownership in the firm, and along with Defendant Weiner, consist of the Firm’s management.
27

28


                                                           3
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 4 of 16 Page ID #:4



 1          12.     Plaintiff is informed, believes, and thereon alleges that at all relevant times mentioned
 2
     herein, all Defendants, and each of them, were the officers, directors, brokers, agents, contractors,
 3
     advisors, servants, partners, joint ventures, employees, and/or co-conspirators of their Co-Defendants and
 4
     were acting within the scope of their authority as such agents, contractors, advisors, servants, partners,
 5
     joint venturers, and employees with the permission and consent of their Co-Defendants.
 6

 7          13.     The identities and capacities of Defendants DOES 1 through 10 are presently unknown to

 8   Plaintiff, and on this basis, Plaintiff sues these defendants by fictitious names. Plaintiff will amend the
 9   complaint to substitute the true names and capacities of the DOE Defendants when they are ascertained.
10
     Plaintiff is informed, believes, and thereon alleges that DOES 1 through 10 are, and were at all times
11
     relevant to this action, employees and/or agents of Defendants and are responsible for the acts and
12
     omissions complained of herein.
13

14                                  III.    JURISDICTION AND VENUE

15          14.     This Court has subject matter jurisdiction pursuant to 28 U.S.C § 1332 based upon the

16   grounds that the amount of damages sought is in excess of $75,000 and because Plaintiff does not share
17   citizenship with any of the named Defendants. This Court also has supplemental jurisdiction over the
18
     state law claims pursuant to 28 U.S.C. § 1367(a) because all of the claims alleged herein form part of the
19
     same case or controversy.
20
            15.     This Court has both specific and general personal jurisdiction over the named Defendants
21

22   because each of the named Defendants maintains minimum contacts with the United States, this judicial

23   district, and this state. Each of the Defendants purposefully availed themselves of the laws of this state

24   by conducting a substantial amount of its business in this state, including the maintenance of several office
25
     locations and workspaces within this state, and particularly within this judicial district.
26

27

28


                                                           4
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 5 of 16 Page ID #:5



 1          16.     Venue is proper in this judicial district under 28 U.S.C. § 1391 because a substantial part
 2
     of the events or omissions giving rise to Plaintiff’s claims occurred in this judicial district.
 3
                                       IV.     FACTUAL ALLEGTIONS
 4
            17.     In September 2020, Plaintiff joined the firm as a “Senior Counsel” pursuant to an offer of
 5
     employment agreement that serves as the basis for this case. A true and correct copy of this agreement is
 6

 7   included herewith as “Exhibit A”.

 8          18.     Under the agreement, the term of Plaintiff’s employment with the firm was to extend
 9   through December 31, 2021 with a change in position and title to a “contract partner” beginning on January
10
     1, 2021.
11
            19.     Plaintiff’s compensation was to be determined by what is more commonly known as an
12
     “eat-what-you-kill”-type compensation arrangement, wherein Plaintiff would receive a revenue draw
13

14   equaling 30% of the total cash receipts collected from matters originated by Plaintiff, 35% of the total

15   cash receipts collected by Plaintiff working as a timekeeper, and 20% of the time billed by associates and

16   paralegals while working under the direct supervision of Plaintiff.
17          20.     Section 13 of the agreement provided the terms and mechanisms for termination of the
18
     agreement, which is of key importance here given the Firm’s failed attempt to terminate Plaintiff and the
19
     named Defendant’s inability to recognize the fact that Plaintiff is not an employee of the Firm.
20
            21.     Given the clear language and terms of the parties’ agreement, termination of such
21

22   agreement was to be effectuated by and pursuant to section 13 only. Yet despite this clear and unequivocal

23   language, Defendants breached the agreement by failing to provide any notice required by the agreement

24   and by subsequently refusing to act in accordance with the terms of the agreement.
25
            22.     On or around November 16, 2021, Defendant Weiner met with Plaintiff and attempted to
26
     terminate Plaintiff’s employment with the firm. During this meeting, Plaintiff advised Defendant Weiner
27

28


                                                            5
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 6 of 16 Page ID #:6



 1   that such attempted termination was improper and in violation of the parties’ agreement. Plaintiff further
 2
     suggested that the Firm prepare a notice of termination of the agreement and that Plaintiff would be willing
 3
     to waive the written notice requirements pursuant to the parties’ agreement. Defendant Weiner did not
 4
     agree to this and wrongfully and unreasonably doubled down on the position that Plaintiff could be
 5
     “terminated” at-will as an employee of the Firm.
 6

 7           23.    Defendant Weiner’s actions and beliefs were clearly not rooted in any law, nor does it

 8   appear that the Firm or any of the named Defendants had any knowledge or ability to comprehend what
 9   exactly it was that they were attempting to do. This is clearly evident by the fact that even if Defendants’
10
     purported “at-will” termination of Plaintiff’s “employment” with the Firm were valid, Defendants failed
11
     to comply with their legal and statutory obligations to provide Plaintiff with a final paycheck constituting
12
     all unpaid wages and other compensation. Indeed, Defendants did not provide any such payment despite
13

14   having allegedly terminated Plaintiff’s employment with the Firm.

15           24.    At the same meeting, Plaintiff posited the question to Defendant Weiner that if it were an

16   actual termination, then Plaintiff would clearly be entitled to a final paycheck consisting of unpaid wages
17   and compensation. Defendant Weiner was unable to provide such, claiming that certain “deductions”
18
     would need to be taken into account prior to issuance of such final paycheck to Plaintiff.
19
             25.    To date, Defendants have failed to remit any such final paycheck or final payment to
20
     Plaintiff.
21

22           26.    Shortly after the meeting, Plaintiff’s access to the firm’s e-mail accounts and the firm’s

23   case management program were shut off. Defendants failed to abide by any of the terms of the parties’

24   agreement concerning termination of Plaintiff’s independent contractor’s agreement with the Firm.
25
     Specifically, Defendants willfully and unjustifiably failed to abide by section 13 of the offer letter that
26
     requires 30 days written notice to terminate the parties’ agreement.
27

28


                                                          6
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 7 of 16 Page ID #:7



 1          27.     By abruptly cutting off access to Plaintiff to the firm’s e-mails and other resources,
 2
     Defendants’ maliciously intended to cause harm and damage to Plaintiff, and Plaintiff was not afforded
 3
     any of the basic partnership courtesies and any sense of basic decency in the handling of a partner
 4
     withdrawal from the Firm.
 5
            28.     More egregiously, Defendants’ disparate treatment of Plaintiff by the purported
 6

 7   termination is vastly different than Defendants’ treatment of similar partners with similar contracts to

 8   Plaintiff. As an example, one white, straight male partner that experienced similar issues as Plaintiff and
 9   was ultimately asked to leave the Firm was permitted the full 30 days’ notice period prior to that partner’s
10
     departure of the firm.
11
            29.     Defendants’ unlawful conduct was engaged in and/or ratified by managing agents of
12
     Defendants, in whom Plaintiff placed his fully justified, good faith trust in. Defendants acted in a
13

14   deliberate, malicious, cold, callous, deceptive, oppressive, and intentionally harmful manner in order to

15   injure and cause damage to Plaintiff with a callous disregard for Plaintiff’s right to be free from

16   discrimination and retaliation in the workplace.
17          30.     Defendants’ purported termination of Plaintiff’s employment and outrageous and
18
     discriminatory conduct towards Plaintiff has irreparably harmed and disrupted Plaintiff’s life and career.
19
     As a result of Defendants’ unlawful conduct and the actions as alleged herein, Plaintiff has and continues
20
     to suffer from significant emotional distress.
21

22          31.     Additionally, Plaintiff is informed and believes and hereupon alleges that Defendants’ have

23   acted with a reckless disregard to Plaintiff’s reputation as an attorney, by making false and defamatory

24   statements regarding Plaintiff’s performance as an attorney to individuals both inside and outside of the
25
     Firm. Defendants, acting by and through Defendant Weiner, have made, and continue to make false
26

27

28


                                                          7
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 8 of 16 Page ID #:8



 1   defamatory statements to Plaintiff’s clients and other firm clients in an effort to cause irreparable harm to
 2
     Plaintiff’s reputation.
 3
             32.     Specifically, Plaintiff is informed and believes and hereupon alleges that Defendants,
 4
     particularly Defendant Li, engaged in the conduct of repeatedly making false and defamatory statements
 5
     to members of the legal community, both inside and outside the Firm, concerning Plaintiff’s job
 6

 7   performance and the circumstances of Plaintiff’s purported termination, including, inter alia, express and

 8   implied accusations relating to Plaintiff’s competence in handling matters where Plaintiff was lead
 9   attorney, and unsubstantiated comments regarding Plaintiff’s alleged poor performance. These and
10
     similar false statements published by Defendant Li and the other named Defendants expressly and
11
     impliedly asserted that Plaintiff is and/or was unprofessional and unsuccessful as an attorney and partner
12
     of the Firm. These false and defamatory statements were unsolicited, untrue, and made with actual malice
13

14   and the intent to cause reputational harm and did indeed cause such harm to Plaintiff.

15           33.     In addition to the false, misleading, and defamatory statements made by Defendants,

16   Plaintiff has been harmed by the substantial and severe invasion of privacy and public disclosure of private
17   facts that Defendants have committed.        Plaintiff is informed, believes, and hereupon alleges that
18
     Defendants, namely Defendant Li, acted maliciously and with willful disregard of Plaintiff’s right to
19
     privacy by routinely opening private mail addressed privately to Plaintiff. Defendant Li and the named
20
     Defendants did so in an attempt to obtain private facts about Plaintiff that Defendants knew would cause
21

22   harm to Plaintiff should such facts have been disclosed to the public. Regardless, Defendants acted in

23   conscious disregard to Plaintiff’s privacy rights in an attempt to attack Plaintiff’s reputation and cause

24   significant harm to Plaintiff.
25
             34.     Plaintiff further believes, and alleges upon information and such belief, that Defendants’
26
     operation and structure as a law firm is improper and constitutes a significant violation of the rules of
27

28


                                                          8
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 9 of 16 Page ID #:9



 1   professional conduct for both the State of California and State of New York. This includes, namely, the
 2
     fact that the firm’s partners include nonlawyer individuals in violation of both states’ rules prohibiting the
 3
     sharing of business equity with nonlawyers.
 4
               35.   Upon further information and belief, Defendant Li and Defendant Mei, both of whom are
 5
     citizens of the People’s Republic of China and are not licensed as attorneys by any bar association within
 6

 7   any of the 50 states in the United States, hold interests in equity and in the form of being a partner in the

 8   firm’s partnership.
 9             36.   As a consequence of Defendants’ breach of the employment agreement by, among other
10
     things, failing to provide the requisite notice of termination of said agreement, failure to pay all monies
11
     due to Plaintiff pursuant to the employment agreement, and for the wrongful acts as alleged herein,
12
     Plaintiff has been harmed and damaged in an amount to be proven at trial.
13

14                                        V.     CLAIMS FOR RELIEF

15                                                   COUNT 1
                                             BREACH OF CONTRACT
16                                            (Against All Defendants)
17             37.   Plaintiff realleges and incorporates by reference all paragraphs as though fully set forth
18
     herein.
19
               38.   Plaintiff entered into a written contract with the Firm, which includes each and every one
20
     of the named Defendants.
21

22             39.   In order to terminate the agreement, written notice in advance of 30 days is required.

23   Despite this, Defendants attempted to terminate Plaintiff as an “employee” of the firm under a mistaken

24   belief that Plaintiff could be terminated “at-will” as a result thereof.
25
     ///
26
     ///
27

28


                                                            9
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 10 of 16 Page ID #:10



 1              40.     Defendants breached the terms of the agreement, specifically, in regard to the specified
 2
      method for termination of the agreement. Defendants attempt to cause the termination of Plaintiff was
 3
      unjust and invalid pursuant to the terms of the agreement.
 4
                41.     In breach of the express terms of the contract, Defendants also failed its obligations under
 5
      the contract by closing, suspending, or otherwise shutting off access to the Firm’s resources, including e-
 6

 7    mail, file system and documents, and case management software.

 8              42.     Furthermore, Defendants’ breach includes the failure to remit payment rightfully owed and
 9    due to Plaintiff under the terms of the agreement. To date, Plaintiff has yet to receive payment from
10
      Defendants in an amount to be proven at trial, but well in excess of over $75,000.
11
                43.     As a direct and proximate result of Defendants’ breach of contract, Plaintiff has been
12
      damaged in an amount to be determined at trial. More egregiously, Defendants’ breaches have caused,
13

14    and continue to cause damage to clients of the Firm as Plaintiff has been unable to tend to such matters as

15    a result of Defendant’s closure of Plaintiff’s access to same.

16                                            COUNT 2
                      BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING
17                                     (Against All Defendants)
18
                44.     Plaintiff realleges and incorporates by reference all paragraphs as though fully set forth
19
      herein.
20
                45.     Plaintiff’s offer letter and written contract with Defendants is an enforceable contract under
21

22    California law. A covenant of good faith and fair dealing is implied in the agreements and contracts

23    entered into by and between Plaintiff and Defendants.

24              46.     The covenant of good faith and fair dealing required Defendants to fairly, honestly, and
25
      reasonably perform the terms and conditions of the offer letter and written contracts.
26

27

28


                                                             10
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 11 of 16 Page ID #:11



 1              47.   Defendants breached the covenant of good faith and fair dealing with Plaintiff in several
 2
      ways, including: (1) Defendants’ refusal to pay Plaintiff’s wages owed under the offer letter and written
 3
      contracts; (2) Defendants’ failure to provide administrative, secretarial, and associate attorney support to
 4
      Plaintiff in accordance with the terms of the offer letter and written contracts; Defendants’ attempt to
 5
      terminate Plaintiff’s employment by treating Plaintiff as an employee for purposes of “at-will”
 6

 7    termination, despite the terms of the offer letter and written contracts that required and provided for a 30-

 8    day notice of termination of the offer letter and written contracts; and (4) Defendants’ unjustified
 9    repudiation of the obligations under the offer letter and written contracts, despite having full knowledge
10
      and awareness of the applicable law, for reasons extraneous to the contracts, and for the purpose of
11
      frustrating Plaintiff’s enjoyment and benefits derived from the offer letter and written contracts.
12
                48.   As a proximate result of Defendants’ breach of the covenant of good faith and fair dealing,
13

14    Plaintiff has been damages, in that Plaintiff has suffered and continues to sustain substantial losses in

15    earnings and other employment benefits in an amount according to proof at trial.

16                                                   COUNT 3
                                                 DEFAMATION
17                                            (Against All Defendants)
18
                49.   Plaintiff realleges and incorporates by reference all paragraphs as though fully set forth
19
      herein.
20
                50.   Plaintiff is informed and believes Defendants by the herein-described acts, conspired to,
21

22    and in fact, did negligently, recklessly, and intentionally cause excessive and unsolicited internal and

23    external publications of defamation, of and concerning Plaintiff, to third persons and to the community.

24    These false and defamatory statements included express and implied accusations that Plaintiff performed
25
      poorly, exhibited unprofessional conduct, and committed errors in strategy or judgment for matters which
26
      Plaintiff was lead attorney on.
27

28


                                                           11
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 12 of 16 Page ID #:12



 1           51.     While the precise dates of these publications are not currently known to Plaintiff, Plaintiff
 2
      is informed and believes the publications started in or around June of 2021, for the improper purpose of
 3
      finding a justification for Plaintiff’s wrongful termination. These publications were outrageous, negligent,
 4
      reckless, intentional, and maliciously published and republished by Defendant. Plaintiff is informed and
 5
      believes that the negligent, reckless, and intentional publications by Defendant were and continue to be
 6

 7    foreseeably published and republished by Defendant, its agents and employees, and recipients in the

 8    community. Plaintiff hereby seeks damages for these publications and all foreseeable republications
 9    discovered up to the time of trial.
10
             52.     During the above-described timeframe, Defendants conspired to, and in fact, did
11
      negligently, recklessly, and intentionally cause excessive and unsolicited publication of defamation, of
12
      and concerning Plaintiff, to third persons, who had no need or desire to know. Those third person(s) to
13

14    whom Defendants published such defamatory statements are believed to include, but are not limited to,

15    other partners, agents and employees of Defendants and the community, clients, all of whom are known

16    to Defendant, but unknown at this time to Plaintiff.
17           53.     The defamatory publications consisted of oral and written, knowingly false and
18
      unprivileged communications, tending directly to injure Plaintiff and Plaintiff’s personal, business, and
19
      professional reputation. These publications included the following false and defamatory statements (in
20
      violation of California Civil Code §§ 45 and 46(3)(5)) with the meaning and/or substance that Plaintiff:
21

22    exhibited unprofessional conduct or otherwise performed poorly as lead counsel on matters which Plaintiff

23    was handling. These and similar statements published by Defendants expressly and impliedly falsely

24    assert that Plaintiff is an unprofessional, unsuccessful, and incompetent attorney.
25
             54.     Plaintiff is informed, believes and fears that these false and per se defamatory statements
26
      will continue to be published by Defendants and will be foreseeably republished by its recipients, all to
27

28


                                                             12
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 13 of 16 Page ID #:13



 1    the ongoing harm and injury to Plaintiff’s business, professional, and personal reputations. Plaintiff also
 2
      seeks redress in this action for all foreseeable republications, including his own compelled self-publication
 3
      of these defamatory statements.
 4
              55.     The defamatory meaning of all of the above-described false and defamatory statements,
 5
      and their reference to Plaintiff, were understood by these above-referenced third person recipients and
 6

 7    other members of the community who are known to Defendant, but unknown to Plaintiff at this time.

 8            56.     None of Defendant’s defamatory publications against Plaintiff referenced above are true.
 9            57.     The above defamatory statements were understood as assertions of fact, and not as opinion.
10
      Plaintiff is informed and believes this defamation will continue to be negligently, recklessly, and
11
      intentionally published and foreseeably republished by Defendants, and foreseeably republished by
12
      recipients of Defendants’ publications, thereby causing additional injury and damages for which Plaintiff
13

14    seeks redress by this action.

15            58.     Each of these false defamatory per se publications (as set forth above) were negligently,

16    recklessly, and intentionally published in a manner equaling malice and abuse of any alleged conditional
17    privilege (which Plaintiff denies existed), since the publications, and each of them, were made with hatred,
18
      ill will, and an intent to vex, harass, annoy, and injure Plaintiff in order to justify the illegal and cruel
19
      actions of Defendants, to cause further damage to Plaintiff’s professional and personal reputation, to cause
20
      him to be fired, and to justify his firing.
21

22            59.     Each of these publications by Defendants were made with knowledge that no investigation

23    supported the unsubstantiated and obviously false statements. Defendants published these statements

24    knowing them to be false, unsubstantiated by any reasonable investigation, and the product of hostile
25
      witnesses. These acts of publication were known by Defendants to be negligent to such a degree as to be
26
      reckless. In fact, not only did Defendants have no reasonable basis to believe these statements, but
27

28


                                                           13
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 14 of 16 Page ID #:14



 1    Defendants also had no belief in the truth of these statements, and in fact knew the statements to be false.
 2
      Defendants excessively, negligently, and recklessly published these statements to individuals with no need
 3
      to know, and who made no inquiry, and who had a mere general or idle curiosity of this information.
 4
             60.     The above complained-of publications by Defendants were made with hatred and ill will
 5
      towards Plaintiff and the design and intent to injure Plaintiff, Plaintiff’s good name, his reputation,
 6

 7    employment and employability. Defendants published these statements, not with an intent to protect any

 8    interest intended to be protected by any privilege, but with negligence, recklessness and/or an intent to
 9    injure Plaintiff and destroy his reputation. Therefore, no privilege existed to protect any Defendants from
10
      liability for any of these aforementioned publications or republications.
11
             61.     As a proximate result of the publication and republication of these defamatory statements
12
      by Defendants, Plaintiff has suffered injury to his personal, business, and professional reputation including
13

14    suffering embarrassment, humiliation, severe emotional distress, shunning, anguish, fear, loss of

15    employment, and employability, and significant economic loss in the form of lost wages and future

16    earnings, all to Plaintiff’s economic, emotional, and general damage in an amount according to proof.
17           62.     Defendants committed the acts alleged herein recklessly, maliciously, fraudulently, and
18
      oppressively, with the wrongful intention of injuring Plaintiff, for an improper and evil motive amounting
19
      to malice (as described above), and which abused and/or prevented the existence of any conditional
20
      privilege, which in fact did not exist, and with a reckless and conscious disregard of Plaintiff’s rights. All
21

22    actions of Defendants, their agents, and employees, herein alleged were known, ratified and approved by

23    Defendants. Plaintiff thus is entitled to recover punitive and exemplary damages from Defendants for

24    these wanton, obnoxious, and despicable acts in an amount according to proof at time of trial.
25
      ///
26
      ///
27

28


                                                           14
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 15 of 16 Page ID #:15



 1                                                   COUNT 4
                                                 ACCOUNTING
 2                                            (Against All Defendants)
 3
                63.   Plaintiff realleges and incorporates by reference all paragraphs as though fully set forth
 4
      herein.
 5
                64.   A relationship exists between Plaintiff and Defendants for which an accounting of the
 6

 7    Firm’s books and records is appropriate.

 8              65.   Plaintiff is informed, believes, and based thereon alleges that the Firm has derived and
 9    received significant legal fees in which Plaintiff is contractually entitled to a share thereof. Plaintiff is
10
      entitled to a full and accurate accounting of all proceeds generated from, by or in connection with the
11
      matters originated by Plaintiff, matters where Plaintiff was to derive a portion of fees for work conducted
12
      as lead attorney on various legal matters, and any and all other fees owed and due to Plaintiff in accordance
13

14    with Plaintiff’s employment agreement.

15              66.   The total amount of monies owing and due to Plaintiff is currently unknown and cannot

16    reasonably be determined or ascertained without a full and complete accounting of the Firm’s books and
17    records.
18
                67.   Plaintiff also prays for the Court to impose a constructive trust on all moneys wrongfully
19
      withheld by the Firm from Plaintiff.
20
                                              PRAYER FOR RELIEF
21

22              68.   WHEREFORE, Plaintiff prays for the requested relief as follows:

23                    A. For damages for breach of contract sufficient to restore to Plaintiff the
                         bargained-for benefits of the contract;
24
                      B. For compensatory damages including lost wages, earnings, retirement benefits,
25                       and other employee benefits; and all other sums of money, together with interest
26                       on these amounts at prevailing rates and according to proof;

27

28


                                                           15
     Case 8:21-cv-02032-DOC-ADS Document 1 Filed 12/09/21 Page 16 of 16 Page ID #:16



 1                  C. For general, special, and incidental damages and amounts for emotional and
                       physical distress according to proof;
 2

 3                  D. For injunctive relief;

 4                  E. For punitive damages in an amount to be determined at trial sufficient to punish,
                       penalize and/or deter Defendants;
 5
                    F. For prejudgment interest and interest on the sum of damages awarded to the
 6
                       maximum extent permitted by law;
 7
                    G. For reasonable attorneys’ fees and costs of suit herein incurred; and
 8
                    H. For such other and further relief as the Court deems proper and any such other
 9                     or further relief as may be appropriate under federal or state law, or at equity.
10

11                                        DEMAND FOR JURY TRIAL

12          Plaintiff demands a jury trial for all claims so triable.
13

14    Dated: December 9, 2021                          By: /s/ Edward Chen
                                                           Edward Chen
15
                                                            Attorneys for Plaintiff
16

17

18

19

20

21

22

23

24

25

26

27

28


                                                           16
